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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

WINNIFRED BONJEAN-ALPART,

                 Plaintiff,

-against-                                                                COMPLAINT AND
                                                                         JURY TRIAL DEMAND
CITY OF NEW YORK; NYPD OFFICER
PENNACCHIA; AND NYPD SERGEANT JOEL
EDWARDS; AND UNKNOWN NYPD OFFICERS.


-----------------------------------------------------------X

        NOW COMES Plaintiff, WINNIFRED BONJEAN-ALPART, by and through her

attorney BONJEAN LAW GROUP, PLLC, and for cause of action against the defendants, both

jointly and severally, respectfully states as follows:

                                             INTRODUCTION

        1.       On August 9, 2014, Plaintiff – then a minor – was assaulted and arrested by

Defendants NYPD officers for lawfully asserting her constitutional rights.

        2.       The Defendant officers responded to a second-floor apartment on 113th street in

New York City where Plaintiff and some of her friends had been socializing. Defendants

EDWARDS and PENNACCHIA demanded entry into the home. Plaintiff announced that the

Defendant officers had no right to force their way into the apartment.

        3.       Defendants ordered Plaintiff to ‘shut up,’ and Plaintiff responded by informing

the Defendants that she knew her rights and that absent a warrant or exigent circumstances, they

simply could not demand entry into the apartment.

        4.       In response to this lawful assertion of her rights, Defendant PENNACCHIA

physically grabbed Plaintiff – only 95 lbs. – slammed her against the wall and handcuffed her
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arms tightly behind her back, causing significant bruising to her hip and wrists.

       5.      Plaintiff had consumed no alcohol that evening and was not breaking any laws at

the time of her arrest. No one else was arrested.

       6.      Plaintiff was detained for approximately 18 hours and forced to defend against

false charges – all of which were ultimately dismissed.

                                            PARTIES

       7.      Plaintiff is an adult resident of Brooklyn, New York.

       8.      Defendant CITY OF NEW YORK, NEW YORK (“CITY”), is a municipality

chartered by the State of New York and as such is a political subdivision of the State of New

York and among its other functions operates and maintains a law enforcement agency known as

the New York City Police Department (“NYPD”). The City of New York is under a duty to run

its policing activities in a lawful manner so as to preserve the peace of the City of New York and

to preserve to its citizens the rights, privileges and immunities granted and secured to them by

the constitutions and the laws of the United States and the State of New York.

       9.      Defendants PENNACCHIA and EDWARDS, are and were at all times relevant

herein, officers, employees and agents of the New York City Police Department, a municipal

agency of the CITY OF NEW YORK. Defendants PENNACCHIA and EDWARDS are being

sued individually and in their official capacities. At all times relevant herein, Defendants

PENNACCHIA and EDWARDS were acting under color of state law in the course and scope of

their duties and functions as agents, servants, employees, and officer of the Police Department

and otherwise performed and engaged in conduct incidental to the performance of their lawful

functions in the court of their duties. They were acting for and on behalf of the CITY at all times

relevant herein with the power and authority vested in them as officers, agents, and employees of

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the Defendant CITY and incidental to the pursuit of their duties as officers, employees, and

agents of the Defendant CITY.

                                 JURISDICTION AND VENUE

        10.     Each and all of the acts of defendants were performed under the color and

pretense of the constitutions, statutes, ordinances, regulations, customs, and usages of the United

States of America, the State of New York, and the City of New York, and under authority of

their office as police officers for the City of New York.

        11.     The incidents which give rise this cause of action occurred within this jurisdiction

within three years of the filing of this Complaint.

        12.     Venue is proper in this venue pursuant to 28 U.S.C. § 1391 as all of the

defendants are residents of this district and/or all of the acts or omissions which give rise to this

cause of action occurred within this district.

        13.     Jurisdiction is proper pursuant to federal question jurisdiction, 28 U.S.C. § 1331,

28 U.S.C § 1343(a)(3)(4) and 42 U.S.C. § 1983. Plaintiff further invokes the pendent and

supplemental jurisdiction of this Court to hear and decide claims arising under state law pursuant

to 28 U.S.C. § 1367.

        14.     Plaintiff avers that defendants do not have immunity for violating the civil rights

of citizens.

                                   FACTUAL ALLEGATIONS

        15.     Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

        16.     On August 9, 2014, at approximately 11:00 p.m., Plaintiff attended a house party

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hosted by the boyfriend of one of her closest friends. The gathering took place at a second-floor

apartment located at 267 W. 113th Street in New York. Approximately 20 to 30 teenagers from a

variety of different New York City high schools attended the party.

       17.     Shortly after arriving, Plaintiff went back outside to wait for other friends to

arrive and sat on the stoop outside the apartment building chatting with a friend. At least two

other groups of young people were congregated outside the building. Plaintiff did not know

the other people standing outside the building.

       18.     Defendant NYPD officers PENNACCHIA and EDWARDS approached the

building on foot. One of the officers asked Plaintiff and her friend whether two empty bottles of

alcohol that had been abandoned on the steps of the building belonged to them. Plaintiff replied

that they didn’t belong to them. Plaintiff had neither purchased nor consumed alcohol that

evening.

       19.     The officers walked away from Plaintiff and her friend and began questioning the

other people outside the building. Plaintiff continued to converse with her friend and was no

longer paying attention to Defendants. At one point, Plaintiff heard one of the Defendants

demand to see identification from another girl standing out outside. Plaintiff offered that she did

not have to produce identification to the officers. The Defendants told Plaintiff to be quiet and

continued to question the other young people congregating outside.

       20.     After a short while, Defendants entered the building, and Plaintiff re-entered the

building at approximately the same time. Plaintiff walked upstairs and observed the officers

approach the apartment where her friends were socializing.

       21.     Plaintiff’s friend and boyfriend opened the door. Defendants demanded to

be let into the apartment. Plaintiff, who was also standing in the doorway, advised her friends

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that they were not obligated to invite the officers in and that Defendants had no right to push

their way into the apartment.

        22.     The Defendant officers ordered Plaintiff to be quiet. Plaintiff calmly reiterated

that Defendants were abusing their authority and that they could not simply bust into an

apartment without a warrant or some type of exigent circumstance.

        23.     Frustrated and angry, Defendant PENNACCHIA grabbed Plaintiff who weighed

no more than 95 pounds, slammed her against the wall, and tightly handcuffed her hands behind

her back. Plaintiff suffered significant bruising on her body and wrists as a result of Defendant

PENNACCHIA’S illegal conduct.

        24.     Plaintiff asked Defendant PENNACCHIA why she was being arrested and

Defendant PENNACCHIA replied that she was not under arrest but that they were going to take

her to the precinct to learn her identity.

        25.     Plaintiff pointed out that her liberty had been restrained and asked again, why she

was being arrested. Defendant EDWARDS eventually told her that she was being arrested for

disorderly conduct.

        26.     No other teenagers were arrested that evening.

        27.     Plaintiff was transported to the 28th Precinct by the Defendant officers. Once

arriving at the Precinct, one of the Defendant officers told Plaintiff that “sometimes it pays to

keep your mouth shut.”

        28.     Defendants confiscated Plaintiff’s purse upon her arrest. While processing

Plaintiff at the precinct, Defendants asked Plaintiff her birthday and she correctly told them that

she was born on June 11, 1997. Defendants informed Plaintiff that they had recovered a “fake

ID” (a Maryland driver’s license with Plaintiff’s photo but false birthdate) from her purse and

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that she was being charged with possession of a fraudulent instrument. Defendants laughed and

celebrated, falsely telling Plaintiff that she would have a felony conviction on her record and that

she would have to declare that she was a felon for the rest of her life.

       29.     Plaintiff had not presented the bogus driver’s license to anyone, had not used it

for any purpose that evening, and had forgotten that it was in her purse.

       30.     Although Plaintiff evinced no intent to use the fake driver’s license, Defendants

nonetheless falsely charged her with criminal possession of a forged instrument. Mere possession

of a fake ID without an intent to use it, is not a crime.

       31.      Possession of a fake driver’s license with the intent to use it is a violation of New

York Criminal Penal Law 170.20, a third-degree misdemeanor offense. However, Defendants

purposefully charged Plaintiff with the more serious provision Criminal Penal Law 170.25,

criminal possession of a forged instrument in the second degree, a felony offense. No factual

basis existed to justify charging Plaintiff with the felony offense.

       32.     Although the felony charge was not approved by the New York District

Attorney’s office, Defendant EDWARDS and PENNACCHIA maliciously charged Plaintiff with

the aggravated offense so that they could justify not releasing her on a Desk Appearance Ticket

(“DAT”) from the precinct, forcing her to go through central booking and extending her

detention. Defendants EDWARDS and PENNACCHIA knew that the felony charge was not

applicable to possession of a fake driver’s license, but nonetheless charged Plaintiff with the

enhanced felony offense to insure that she would experience the stressful process of going

through central booking and to prolong her detention unnecessarily.

       33.     One female officer at the precinct verbally taunted Plaintiff, mockingly asking her

“[a]re you going to cry?” and “[a]re you scared because you was going to have to go to

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central booking for the weekend?” Plaintiff was composed at all times but frightened, concerned,

and uneasy that her care and safety were in the hands of officers who were acting with such

complete disregard for the law and behaving so erratically and unprofessionally.

       34.     The Defendant officers also charged Plaintiff with possession of alcohol by a

minor even though Plaintiff was never in possession of alcohol and had not even consumed

alcohol that evening. Defendant PENNACCHIA falsely stated in a sworn affidavit that the two

empty bottles of alcohol that were abandoned on the stoop of the building where Plaintiff and her

friend were chatting were discovered in Plaintiff’s purse. Plaintiff was not carrying empty bottles

of alcohol in her purse, and even if she was, the possession of empty bottles of alcohol does not

violate any laws.

       35.     Defendants also charged Plaintiff with disorderly conduct for telling her friends

that they did not have to produce identification or let the officers into the apartment.

       36.     Plaintiff spent approximately 18 hours in custody prior to being released on her

own recognizance.

       37.     Plaintiff moved to dismiss all charges against her and the Honorable Criminal

Court Judge Ann Scherzer granted Plaintiff’s motion to dismiss the disorderly conduct charge,

finding that the information failed to show that Plaintiff’s conduct had breached the peace.

       38.     The remaining charges against Plaintiff were dismissed on June 9, 2015.

       39.     Plaintiff filed a notice of claim with the City on February 10, 2015.

                                             COUNT I

 FEDERAL CONSTITUTIONAL VIOLATIONS AGAINST DEFENDANTS EDWARDS

         AND PENNACHIA AND UNKNOWN JOHN DOE POLICE OFFICERS

       41.       Plaintiff hereby incorporates, in their entirety, each and every paragraph

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contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

        42.      Defendants committed the above described actions and/or omissions under the

color of law and by virtue of their authority as law enforcement officers for the City of New

York and substantially deprived plaintiff of her clearly established rights, privileges and

immunities guaranteed to him as a citizen of the United States in violation of 42 U.S.C. § 1983,

and deprived plaintiff of the rights guaranteed to him under the First, Fourth, Eighth, and

Fourteenth Amendments to the United States Constitution, including but not limited to:

        a.       freedom from unlawful search and seizure;

        b.       freedom from unlawful arrest and seizure of his/her person;

        c.       freedom from unreasonable, unjustified, and excessive force;

        d.       freedom from abuse of process;

        d.       freedom from deprivation of liberty and property without due process of law;

        e.       freedom from retaliation for Plaintiff’s exercise of her rights to free speech and

                 assembly;

        43.      Defendant officers failed intercede on behalf of Plaintiff and failed to protect the

minor Plaintiff from the unjustified and unconstitutional treatment she received at the hands of

other defendants.

        44.      As a direct and proximate result of the acts and omissions of Defendants,

Plaintiffs’ constitutional rights were violated and Plaintiffs were injured and sustained substantial

injuries.

        45.      The actions and/or omissions of defendants, complained herein were unlawful,

conscience shocking, unconstitutional, and performed maliciously, recklessly, fraudulently,

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intentionally, willfully, wantonly in bad faith, and in such a manner to entitle Plaintiffs to a

substantial award of punitive damages against defendants.

                                             COUNT II

FAILURE TO SUPERVISE CLAIMS AGAINST DEFENDANT SERGEANT EDWARDS

       46.      Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

       47.      By his conduct in failing to remedy the wrongs committed by his subordinate

Defendant PENNACCHIA and in failing to properly train, supervise, or discipline, his

subordinates, Defendant Sergeant EDWARDS caused damage, injury in violation of Plaintiff’

rights guaranteed under 42 U.S.C. §1983 and the United States Constitution, including its First,

Fourth, and Fourteenth Amendments.

       48.      As a result of the foregoing, Plaintiff was deprived of her liberty, experienced

injury, pain and suffering, emotional injury, costs and expenses, and was otherwise damaged and

injured.

                                            COUNT III

FEDERAL CONSTITUTIONAL VIOLATIONS AGAINST THE CITY OF NEW YORK

       49.      Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

       50.      At all times material to this complaint, Defendant CITY OF NEW YORK,

acting through its police department, and through the individual defendants had de facto policies,

practices, customs and usages which were a direct and proximate cause of the unconstitutional

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conduct alleged herein.

       51.     At all times material to this complaint, Defendant CITY OF NEW YORK, acting

through its police department, and through the individual defendants, had de facto policies,

practices, customs, and usages failing to properly train, screen, supervise, or discipline said

defendants. These policies, practices, customs and usages were a direct and proximate cause of

the unconstitutional conduct alleged herein.

       52.     At all times material to this complaint, Defendant CITY OF NEW YORK, acting

through its police department, and through the individual defendants had de facto policies,

practices, customs, and usages of encouraging and or tacitly sanctioning the violation of and/or

retaliation for the individuals’ exercise of free speech in a manner that affronts police officers or

is interpreted by police officers as challenging their authority. These policies, practices, customs,

and usages were a direct and proximate cause of the unconstitutional conduct alleged herein.

       53.     At all times material to this complaint, Defendant CITY OF NEW YORK, acting

through its police department, and through the individual defendants had de facto policies,

practices, customs, and usages of encouraging and/or tacitly sanctioning the cover-up of other

law enforcement officers’ misconduct, through fabrication of false accounts and evidence and/or

through “the blue wall of silence.” Such policies, practices, customs, and usages were a direct

and proximate cause of the unconstitutional conduct alleged herein.

       54.     As a result of the foregoing, Plaintiff was deprived of her liberty, experienced

injury, pain and suffering, emotional injury, and was otherwise damaged and injured.

                                            COUNT IV

 RESPONDEAT SUPERIOR LIABIILTY OF THE CITY OF NEW YORK FOR STATE

                                       LAW VIOLATIONS

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       55.      Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

       56.      The conduct of the individual defendants alleged herein, occurred while they were

in duty and in uniform, and/or in and during the course and scope of their duties and functions as

New York City police officers, and/or while they were acting as agents and employees of the

defendant the CITY OF NEW YORK, and, as a result, the Defendant the CITY OF NEW YORK

is liable to the plaintiff pursuant to the state common law doctrine of respondeat superior.

       57.      As a result of the foregoing, Plaintiff was deprived of his liberty and property,

experienced injury, pain and suffering, emotional injury, costs and expenses, and was otherwise

damaged and injured.

                                             COUNT V

    PENDENT CLAIM OF NEGLIGENT HIRING, TRAINING, AND SUPERVISION

                                 AGAINST DEFENDANT CITY

       58.      Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

       59.      At all times herein, Defendant CITY has been grossly negligent and negligent in

the hiring supervision, training, and monitoring of its representatives who consult with and

counsel police officers who are suspected of crimes and misconduct, or police officers who are

suspected of crimes and misconduct, or police officers who are witnesses to crimes and

misconduct by their fellow officers.

       60.      At all times relevant herein, Defendant CITY has been grossly negligent and

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negligent in hiring, supervision, training, and monitoring of defendants PENNACCHIA and

EDWARDS.

        61.     As a direct and proximate result of the Defendant’s wrongful acts, policies,

practices, customs and/or usages complained of herein, the Plaintiff suffered injuries and

damages including, but not limited to, conscious pain and suffering, physical pain and suffering,

emotional pain and suffering, anxiety, and embarrassment.

                                            COUNT VI

    STATE LAW TORTS AGAINST DEFENDANTS PENNACHIA AND EDWARDS

        62.     Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

        63.     The acts, omissions, and conduct of defendants PENNACCHIA and EDWARDS

constitute assault, battery, false arrest, false imprisonment, malicious prosecution, abuse of

process, intentional infliction of emotional distress, and negligence infliction of emotional

distress.

        64.     As a direct and proximate result of the aforementioned acts and omissions of

defendants PENNACHIA and EDWARDS, Plaintiff has been injured and damaged.

                                            DAMAGES

        65.     Plaintiff hereby incorporates, in their entirety, each and every paragraph

contained in this Complaint and by reference makes said paragraphs a part hereof as if fully set

forth herein.

        66.     As a direct and proximate result of the aforementioned actions and omissions of

the defendants, the Plaintiff was injured and damaged. The damages for which the Plaintiff seeks

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compensation from the defendants, both jointly and severally, include, not are not limited to, the

following:

          a.     compensatory damages;

          b.     punitive damages;

          c.     The convening and empaneling of a jury to consider the merits of the claims

herein;

          d.     Costs and interest and attorney’s fees;

          e. declaratory judgment and injunctive relief holding that the policies,

practices or customs of the City of New York, NYPD and defendants PENNACHIA and

EDWARDS complained of herein are illegal and unconstitutional;

          f.     all such relief, both general and specific, to which Plaintiff may be entitled to

under the premises.

                                     PRAYERS FOR RELIEF

          67.    Plaintiff hereby incorporates, in its entirety, each and every paragraph contained

in this Complaint and by reference makes said paragraphs a part hereof as if fully set forth

herein.

          68.    WHEREFORE, PREMISES CONSIDERED, Plaintiff sues the defendants

both jointly and severally, for his personal injuries and prays for a judgment against the

defendants for compensatory damages solely in an amount to be determined by a jury as

reasonable and for all such further relief, both general and specific, to which he may be entitled

under the premises.

          69.    WHEREFORE, PREMISES CONSIDERED, Plaintiff sues defendants

PENNACHIA and EDWARDS for punitive damages in an amount solely to be determined by a

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jury as reasonable and for all such further relief, both general and specific, to which he may be

entitled under the premises.

       70.     A JURY IS RESPECTFULLY DEMANDED TO TRY THE ISSUES ONCE

JOINED.

                                                             Respectfully submitted,


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                                                             S/JENNIFER BONJEAN
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